Case 2:07-md-01873-KDE-MBN Document17115 Filed 10/15/10 Page 1oat3

US. DISTRICT COURT
EASTERN DISTRICT OF LOUISIAN/

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

FILED) OCT 15 2010

Wyk

IN RE: FEMA TRAILER MDL NO. 1873

FORMALDEHYDE PRODUCTS SECTION N MAG. 5

LIABILITY LITIGATION LORETTA G. WHYTE
CLERK

THIS DOCUMENT PERTAINS TO

Civil Action No. 09-7845 JUDGE ENGELHARDT

Natasha Huggins, et. al. MAGISTRATE CHASEZ

Vs.

Scotbilt Homes, Inc., et al.

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55
Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

ROBERT C. HILLIARD ~—

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Case 2:07-md-01873-KDE-MBN Document 17115 Filed 10/15/10 Page 2 of 3

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard -

ROBERT C. HILLIARD

Case 2:07-md-01873-KDE-MBN Document 17115 Filed 10/15/10 Page 3 of 3

Summons to be issued to the following Defendants:

Scotbilt Homes, Inc.
Bechtel National Inc.

CH2M Hill Construction, Inc.
